                                                               Case 6:21-cv-00474-AA                         Document 59-14                   Filed 08/11/21            Page 1 of 4
                                                               Federal Register / Vol. 86, No. 117 / Tuesday, June 22, 2021 / Rules and Regulations                                                   32637

                                            requirements, Security measures,                        DEPARTMENT OF EDUCATION                                in light of the Supreme Court decision
                                            Waterways.                                                                                                     discussed below.
                                                                                                    34 CFR Chapter I                                          In 2020, the Supreme Court in
                                              For the reasons discussed in the                                                                             Bostock v. Clayton County, 140 S. Ct.
                                            preamble, the Coast Guard amends 33                     Enforcement of Title IX of the                         1731, 590 U.S. ll (2020), concluded
                                            CFR part 165 as follows:                                Education Amendments of 1972 With                      that discrimination based on sexual
                                                                                                    Respect to Discrimination Based on                     orientation and discrimination based on
                                            PART 165—REGULATED NAVIGATION                           Sexual Orientation and Gender Identity                 gender identity inherently involve
                                            AREAS AND LIMITED ACCESS AREAS                          in Light of Bostock v. Clayton County                  treating individuals differently because
                                                                                                    AGENCY: Office for Civil Rights,                       of their sex. It reached this conclusion
                                            ■ 1. The authority citation for part 165                                                                       in the context of Title VII of the Civil
                                                                                                    Department of Education.
                                            continues to read as follows:                                                                                  Rights Act of 1964, as amended, 42
                                                                                                    ACTION: Interpretation.
                                              Authority: 46 U.S.C. 70034, 70051; 33 CFR                                                                    U.S.C. 2000e et seq., which prohibits
                                            1.05–1, 6.04–1, 6.04–6, and 160.5;                      SUMMARY: The U.S. Department of                        sex discrimination in employment. As
                                            Department of Homeland Security Delegation              Education (Department) issues this                     noted below, courts rely on
                                            No. 0170.1.                                             interpretation to clarify the                          interpretations of Title VII to inform
                                                                                                    Department’s enforcement authority                     interpretations of Title IX.
                                            ■ 2. Add § 165.T11–057 to read as                       over discrimination based on sexual                       The Department issues this
                                            follows:                                                orientation and discrimination based on                Interpretation to make clear that the
                                                                                                    gender identity under Title IX of the                  Department interprets Title IX’s
                                            § 165.T11–057 Safety Zone; Southwest                    Education Amendments of 1972 in light                  prohibition on sex discrimination to
                                            Shelter Island Channel Entrance Closure,                                                                       encompass discrimination based on
                                                                                                    of the Supreme Court’s decision in
                                            San Diego, CA.                                                                                                 sexual orientation and gender identity
                                                                                                    Bostock v. Clayton County. This
                                               (a) Location. The following area is a                interpretation will guide the Department               and to provide the reasons for this
                                            safety zone: The Northeast Shelter                      in processing complaints and                           interpretation, as set out below.
                                            Island Channel Entrance and all                         conducting investigations, but it does                    Interpretation:
                                            navigable waters of San Diego Bay                       not itself determine the outcome in any                   Title IX Prohibits Discrimination
                                                                                                    particular case or set of facts.                       Based on Sexual Orientation and
                                            encompassed by by a three hundred
                                                                                                    DATES: This interpretation is effective
                                                                                                                                                           Gender Identity.
                                            yard circle centered on the coordinate                                                                            Consistent with the Supreme Court’s
                                            32°43′13.7″ N, longitude 117°13′7.8″ W.                 June 22, 2021.
                                                                                                                                                           ruling and analysis in Bostock, the
                                               (b) Definitions. As used in this                     FOR FURTHER INFORMATION CONTACT:
                                                                                                                                                           Department interprets Title IX’s
                                            section, designated representative                      Alejandro Reyes, Director, Program                     prohibition on discrimination ‘‘on the
                                            means a Coast Guard Patrol                              Legal Group, Office for Civil Rights.                  basis of sex’’ to encompass
                                            Commander, including a Coast Guard                      Telephone: (202) 245–7272. Email:                      discrimination on the basis of sexual
                                                                                                    Alejandro.Reyes@ed.gov.                                orientation and gender identity. As was
                                            coxswain, petty officer, or other officer                  If you use a telecommunications
                                            operating a Coast Guard vessel and a                                                                           the case for the Court’s Title VII analysis
                                                                                                    device for the deaf (TDD) or a text
                                            Federal, State, and local officer                                                                              in Bostock, this interpretation flows
                                                                                                    telephone (TTY), call the Federal Relay
                                            designated by or assisting the Captain of                                                                      from the statute’s ‘‘plain terms.’’ See
                                                                                                    Service (FRS), toll-free, at 1–800–877–
                                            the Port Sector San Diego (COTP) in the                                                                        Bostock, 140 S. Ct. at 1743, 1748–50.
                                                                                                    8339.
                                            enforcement of the safety zone.                                                                                Addressing discrimination based on
                                                                                                    SUPPLEMENTARY INFORMATION:                             sexual orientation and gender identity
                                               (c) Regulations. (1) Under the general                  Background: Title IX of the Education               thus fits squarely within OCR’s
                                            safety zone regulations in subpart C of                 Amendments of 1972, 20 U.S.C. 1681–                    responsibility to enforce Title IX’s
                                            this part, you may not enter the safety                 1688, prohibits discrimination on the                  prohibition on sex discrimination.
                                            zone described in paragraph (a) of this                 basis of sex in any education program or
                                            section unless authorized by the COTP                   activity offered by a recipient of Federal             I. The Supreme Court’s Ruling in
                                            or the COTP’s designated representative.                financial assistance. The Department’s                 Bostock
                                               (2) To seek permission to enter,                     Office for Civil Rights (OCR) is                          The Supreme Court in Bostock held
                                            contact the COTP or the COTP’s                          responsible for the Department’s                       that sex discrimination, as prohibited by
                                                                                                    enforcement of Title IX.                               Title VII, encompasses discrimination
                                            representative by VHF Channel 16.
                                                                                                       OCR has long recognized that Title IX               based on sexual orientation and gender
                                            Those in the safety zone must comply                    protects all students, including students              identity. The Court explained that to
                                            with all lawful orders or directions                    who are lesbian, gay, bisexual, and                    discriminate on the basis of sexual
                                            given to them by the COTP or the                        transgender, from harassment and other                 orientation or gender identity ‘‘requires
                                            COTP’s designated representative.                       forms of sex discrimination. OCR also                  an employer to intentionally treat
                                               (d) Enforcement period. This section                 has long recognized that Title IX                      individual employees differently
                                            will be enforced from 8:30 a.m. until                   prohibits harassment and other forms of                because of their sex.’’ 140 S. Ct. at
                                            10:30 a.m. on June 22, 2021.                            discrimination against all students for                1742.1 As the Court also explained,
                                                                                                    not conforming to stereotypical notions
                                              Dated: June 16, 2021.
                                                                                                    of masculinity and femininity. But OCR                   1 The Court recognized that the parties in Bostock
                                            T.J. Barelli,                                           at times has stated that Title IX’s                    each presented a definition of ‘‘sex’’ dating back to
                                            Captain, U.S. Coast Guard, Captain of the                                                                      Title VII’s enactment, with the employers’
                                                                                                    prohibition on sex discrimination does
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                                                                                                                                                           definition referring to ‘‘reproductive biology’’ and
                                            Port Sector San Diego.                                  not encompass discrimination based on                  the employees’ definition ‘‘capturing more than
                                            [FR Doc. 2021–13136 Filed 6–21–21; 8:45 am]             sexual orientation and gender identity.                anatomy[.]’’ 140 S. Ct. at 1739. The Court did not
                                            BILLING CODE 9110–04–P                                  To ensure clarity, the Department issues               adopt a definition, instead ‘‘assum[ing]’’ the
                                                                                                                                                           definition of sex provided by the employers that the
                                                                                                    this Interpretation addressing Title IX’s              employees had accepted ‘‘for argument’s sake.’’ Id.
                                                                                                    coverage of discrimination based on                    As the Court made clear, it did not need to adopt
                                                                                                    sexual orientation and gender identity                                                             Continued




                                       VerDate Sep<11>2014   18:13 Jun 21, 2021   Jkt 253001   PO 00000   Frm 00005   Fmt 4700   Sfmt 4700   E:\FR\FM\22JNR1.SGM   22JNR1
                                                                Case 6:21-cv-00474-AA                         Document 59-14                   Filed 08/11/21           Page 2 of 4
                                            32638                Federal Register / Vol. 86, No. 117 / Tuesday, June 22, 2021 / Rules and Regulations

                                            when an employer discriminates against                   Department’s interpretation of                         discrimination. In Bostock, 140 S. Ct. at
                                            a person for being gay or transgender,                   discrimination ‘‘on the basis of sex’’                 1740–41, the Court observed that Title
                                            the employer necessarily discriminates                   under Title IX and leads to the                        VII ‘‘tells us three times—including
                                            against that person for ‘‘traits or actions              conclusion that Title IX prohibits                     immediately after the words
                                            it would not have questioned in                          discrimination based on sexual                         ‘discriminate against’—that our focus
                                            members of a different sex.’’ Id. at 1737.               orientation and gender identity.                       should be on individuals.’’ The Court
                                               The Court provided numerous                              a. There is textual similarity between              made a similar observation about Title
                                            examples to illustrate why ‘‘it is                       Title VII and Title IX.                                IX, which uses the term person, in
                                            impossible to discriminate against a                        Like Title VII, Title IX prohibits                  Cannon v. University of Chicago, 441
                                            person’’ because of their sexual                         discrimination based on sex.                           U.S. 677, 704 (1979), stating that
                                            orientation or gender identity ‘‘without                    Title IX provides, with certain                     ‘‘Congress wanted to avoid the use of
                                            discriminating against that individual                   exceptions: ‘‘No person in the United                  federal resources to support
                                            based on sex.’’ Id. at 1741. In one                      States shall, on the basis of sex, be                  discriminatory practices [and] to
                                            example, when addressing                                 excluded from participation in, be                     provide individual citizens effective
                                            discrimination based on sexual                           denied the benefits of, or be subjected                protection against those practices.’’ Id.
                                            orientation, the Court stated:                           to discrimination under any education                  (emphasis added).
                                                                                                     program or activity receiving Federal                     Further, the text of both statutes
                                               Consider, for example, an employer with
                                                                                                     financial assistance . . . .’’ 20 U.S.C.               contains no exception for sex
                                            two employees, both of whom are attracted
                                            to men. The two individuals are, to the                  1681(a).                                               discrimination that is associated with an
                                            employer’s mind, materially identical in all                Title VII provides, with certain                    individual’s sexual orientation or
                                            respects, except that one is a man and the               exceptions: ‘‘It shall be an unlawful                  gender identity. As the Court stated in
                                            other a woman. If the employer fires the male            employment practice for an employer                    Bostock, ‘‘when Congress chooses not to
                                            employee for no reason other than the fact he            (1) to fail or refuse to hire or to                    include any exceptions to a broad rule,
                                            is attracted to men, the employer                        discharge any individual, or otherwise                 courts apply the broad rule.’’ 140 S. Ct.
                                            discriminates against him for traits or actions          to discriminate against any individual                 at 1747. The Court has made a similar
                                            it tolerates in his female colleague. Put                with respect to his compensation, terms,
                                            differently, the employer intentionally                                                                         point regarding Title IX: ‘‘[I]f we are to
                                                                                                     conditions, or privileges of employment,               give Title IX the scope that its origins
                                            singles out an employee to fire based in part
                                            on the employee’s sex, and the affected                  because of such individual’s . . . sex[ ]              dictate, we must accord it a sweep as
                                            employee’s sex is a but-for cause of his                 . . .; or (2) to limit, segregate, or classify         broad as its language.’’ N. Haven Bd. of
                                            discharge.                                               his employees or applicants for                        Ed. v. Bell, 456 U.S. 512, 521 (1982)
                                                                                                     employment in any way which would                      (citations and internal alterations
                                            Id.
                                              In another example, the Court showed                   deprive or tend to deprive any                         omitted). It also bears noting that, in
                                            why singling out a transgender                           individual of employment opportunities                 interpreting the scope of Title IX’s
                                                                                                     or otherwise adversely affect his status               prohibition on sex discrimination the
                                            employee for different treatment from a
                                                                                                     as an employee, because of such                        Supreme Court and lower Federal courts
                                            non-transgender (i.e., cisgender)
                                                                                                     individual’s . . . sex[ ] . . . .’’ 42 U.S.C.          have often relied on the Supreme
                                            employee is discrimination based on
                                                                                                     2000e–2(a). (Title VII also prohibits                  Court’s interpretations of Title VII. See,
                                            sex:
                                                                                                     discrimination based on race, color,                   e.g., Franklin v. Gwinnett Cnty. Pub.
                                            [T]ake an employer who fires a transgender               religion, and national origin.)                        Sch., 503 U.S. 60, 75 (1992); Jennings v.
                                            person who was identified as a male at birth                Both statutes prohibit sex
                                            but who now identifies as a female. If the                                                                      Univ. of N.C., 482 F.3d 686, 695 (4th
                                                                                                     discrimination, with Title IX using the                Cir. 2007); Frazier v. Fairhaven Sch.
                                            employer retains an otherwise identical
                                            employee who was identified as female at
                                                                                                     phrase ‘‘on the basis of sex’’ and Title               Comm., 276 F.3d 52, 66 (1st Cir. 2002);
                                            birth, the employer intentionally penalizes a            VII using the phrase ‘‘because of’’ sex.               Gossett v. Oklahoma ex rel. Bd. of
                                            person identified as male at birth for traits or         The Supreme Court has used these two                   Regents for Langston Univ., 245 F.3d
                                            actions that it tolerates in an employee                 phrases interchangeably. In Bostock, for               1172, 1176 (10th Cir. 2001).
                                            identified as female at birth. Again, the                example, the Court described Title VII                    Moreover, the Court in Bostock found
                                            individual employee’s sex plays an                       in this way: ‘‘[I]n Title VII, Congress                that ‘‘no ambiguity exists about how
                                            unmistakable and impermissible role in the               outlawed discrimination in the                         Title VII’s terms apply to the facts before
                                            discharge decision.                                      workplace on the basis of race, color,                 [it]’’—i.e., allegations of discrimination
                                            Id. at 1741–42.                                          religion, sex, or national origin.’’ 140 S.            in employment against several
                                                                                                     Ct. at 1737 (emphasis added); id. at 1742              individuals based on sexual orientation
                                            II. Bostock’s Application to Title IX
                                                                                                     (‘‘[I]ntentional discrimination based on               or gender identity. 140 S. Ct. at 1749.
                                               For the reasons set out below, the                    sex violates Title VII . . . .’’ (emphasis             After reviewing the text of Title IX and
                                            Department has determined that the                       added)); see also Jackson v. Birmingham                Federal courts’ interpretation of Title IX,
                                            interpretation of sex discrimination set                 Bd. of Educ., 544 U.S. 167, 174 (2005)                 the Department has concluded that the
                                            out by the Supreme Court in Bostock—                     (‘‘[W]hen a funding recipient retaliates               same clarity exists for Title IX. That is,
                                            that discrimination ‘‘because of . . .                   against a person because he complains                  Title IX prohibits recipients of Federal
                                            sex’’ encompasses discrimination based                   of sex discrimination, this constitutes                financial assistance from discriminating
                                            on sexual orientation and gender                         intentional ‘discrimination’ ‘on the                   based on sexual orientation and gender
                                            identity—properly guides the                             basis of sex,’ in violation of Title IX.’’             identity in their education programs and
                                                                                                     (second emphasis added)); Meritor Sav.                 activities. The Department also has
                                            either definition to conclude that discrimination        Bank v. Vinson, 477 U.S. 57, 64 (1986)                 concluded for the reasons described in
                                            ‘‘because of . . . sex’’ encompasses discrimination
                                                                                                     (‘‘[W]hen a supervisor sexually harasses               this document that, to the extent other
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                                            based on sexual orientation and gender identity. Id.
                                            (‘‘[N]othing in our approach to these cases turns on     a subordinate because of the                           interpretations may exist, this is the best
                                            the outcome of the parties’ debate . . . .’’). Similar   subordinate’s sex, that supervisor                     interpretation of the statute.
                                            to the Court’s interpretation of Title VII, the          ‘discriminate[s]’ on the basis of sex.’’                  In short, the Department finds no
                                            Department’s interpretation of the scope of
                                            discrimination ‘‘on the basis of sex’’ under Title IX    (emphasis added)).                                     persuasive or well-founded basis for
                                            does not require the Department to take a position          In addition, both statutes specifically             declining to apply Bostock’s
                                            on the definition of sex, nor do we do so here.          protect individuals against                            reasoning—discrimination ‘‘because of


                                       VerDate Sep<11>2014    18:13 Jun 21, 2021   Jkt 253001   PO 00000   Frm 00006   Fmt 4700   Sfmt 4700   E:\FR\FM\22JNR1.SGM   22JNR1
                                                               Case 6:21-cv-00474-AA                         Document 59-14                   Filed 08/11/21           Page 3 of 4
                                                               Federal Register / Vol. 86, No. 117 / Tuesday, June 22, 2021 / Rules and Regulations                                           32639

                                            . . . sex’’ under Title VII encompasses                 WL 475000, at **6–7 (D. Mass. Jan. 17,                  harassed, disciplined in a
                                            discrimination based on sexual                          2018) (describing ‘‘ ‘wide-spread peer                  discriminatory manner, excluded from,
                                            orientation and gender identity—to Title                harassment’ and physical assault [of a                  denied equal access to, or subjected to
                                            IX’s parallel prohibition on sex                        lesbian high school student] because of                 sex stereotyping in academic or
                                            discrimination in federally funded                      stereotyping animus focused on [the                     extracurricular opportunities and other
                                            education programs and activities.                      student’s] sex, appearance, and                         education programs or activities, denied
                                               b. Additional case law recognizes that               perceived or actual sexual orientation’’).              the benefits of such programs or
                                            the reasoning of Bostock applies to Title                 c. The U.S. Department of Justice’s                   activities, or otherwise treated
                                            IX and that differential treatment of                   Civil Rights Division has concluded that                differently because of their sexual
                                            students based on gender identity or                    Bostock’s analysis applies to Title IX.                 orientation or gender identity. OCR
                                            sexual orientation may cause harm.                        The U.S. Department of Justice’s Civil                carefully reviews allegations from
                                               Numerous Federal courts have relied                  Rights Division issued a Memorandum                     anyone who files a complaint, including
                                            on Bostock to recognize that Title IX’s                 from Principal Deputy Assistant                         students who identify as male, female or
                                            prohibition on sex discrimination                       Attorney General for Civil Rights                       nonbinary; transgender or cisgender;
                                            encompasses discrimination based on                     Pamela S. Karlan to Federal Agency                      intersex; lesbian, gay, bisexual, queer,
                                            sexual orientation and gender identity.                 Civil Rights Directors and General                      heterosexual, or in other ways.
                                            See, e.g., Grimm v. Gloucester Cnty.                    Counsels regarding Application of                          While this interpretation will guide
                                            Sch. Bd., 972 F.3d 586, 616 (4th Cir.                   Bostock v. Clayton County to Title IX of                the Department in processing
                                            2020), as amended (Aug. 28, 2020),                      the Education Amendments of 1972                        complaints and conducting
                                            reh’g en banc denied, 976 F.3d 399 (4th                 (Mar. 26, 2021), https://www.justice.gov/               investigations, it does not determine the
                                            Cir. 2020), petition for cert filed, No. 20–            crt/page/file/1383026/download.                         outcome in any particular case or set of
                                            1163 (Feb. 24, 2021); Adams v. Sch. Bd.                    The memorandum stated that, after                    facts. Where OCR’s investigation reveals
                                            of St. Johns Cnty., 968 F.3d 1286, 1305                 careful consideration, including a                      that one or more individuals has been
                                            (11th Cir. 2020), petition for reh’g en                 review of case law, ‘‘the Division has                  discriminated against because of their
                                            banc pending, No. 18–13592 (Aug. 28,                    determined that the best reading of Title               sexual orientation or gender identity,
                                            2020); Koenke v. Saint Joseph’s Univ.,                  IX’s prohibition on discrimination ‘on                  the resolution of such a complaint will
                                            No. CV 19–4731, 2021 WL 75778, at *2                    the basis of sex’ is that it includes                   address the specific compliance
                                            (E.D. Pa. Jan. 8, 2021); Doe v. Univ. of                discrimination on the basis of gender                   concerns or violations identified in the
                                            Scranton, No. 3:19–CV–01486, 2020 WL                    identity and sexual orientation.’’                      course of the investigation.
                                            5993766, at *11 n.61 (M.D. Pa. Oct. 9,                  Indeed, ‘‘the Division ultimately found                    This interpretation supersedes and
                                            2020).                                                  nothing persuasive in the statutory text,               replaces any prior inconsistent
                                               The Department also concludes that                   legislative history, or caselaw to justify              statements made by the Department
                                            the interpretation set forth in this                    a departure from Bostock’s textual                      regarding the scope of Title IX’s
                                            document is most consistent with the                    analysis and the Supreme Court’s                        jurisdiction over discrimination based
                                            purpose of Title IX, which is to ensure                 longstanding directive to interpret Title               on sexual orientation and gender
                                            equal opportunity and to protect                        IX’s text broadly.’’                                    identity. This interpretation does not
                                            individuals from the harms of sex                                                                               reinstate any previously rescinded
                                                                                                    III. Implementing This Interpretation
                                            discrimination. As numerous courts                                                                              guidance documents.
                                            have recognized, a school’s policy or                      Consistent with the analysis above,                     Accessible Format: On request to the
                                            actions that treat gay, lesbian, or                     OCR will fully enforce Title IX to                      contact person listed under FOR FURTHER
                                            transgender students differently from                   prohibit discrimination based on sexual                 INFORMATION CONTACT, individuals with
                                            other students may cause harm. See,                     orientation and gender identity in                      disabilities can obtain this document in
                                            e.g., Grimm, 972 F.3d at 617–18                         education programs and activities that                  an accessible format. The Department
                                            (describing injuries to a transgender                   receive Federal financial assistance from               will provide the requestor with an
                                            boy’s physical and emotional health as                  the Department. As with all other Title                 accessible format that may include Rich
                                            a result of denial of equal treatment);                 IX complaints that OCR receives, any                    Text Format (RTF) or text format (txt),
                                            Adams, 968 F.3d at 1306–07 (describing                  complaint alleging discrimination based                 a thumb drive, an MP3 file, braille, large
                                            ‘‘emotional damage, stigmatization and                  on sexual orientation or gender identity                print, audiotape, or compact disc, or
                                            shame’’ experienced by a transgender                    also must meet jurisdictional                           other accessible format.
                                            boy as a result of being subjected to                   requirements as defined in Title IX and                    Electronic Access to This Document:
                                            differential treatment); Whitaker ex rel.               the Department’s Title IX regulations,                  The official version of this document is
                                            Whitaker v. Kenosha Unified Sch. Dist.                  other applicable legal requirements, as                 the document published in the Federal
                                            No. 1 Bd. of Educ., 858 F.3d 1034,                      well as the standards set forth in OCR’s                Register. You may access the official
                                            1044–46, 1049–50 (7th Cir. 2017)                        Case Processing Manual, www.ed.gov/                     edition of the Federal Register and the
                                            (describing physical and emotional                      ocr/docs/ocrcpm.pdf.2                                   Code of Federal Regulations at
                                            harm to a transgender boy who was                          Where a complaint meets applicable                   www.govinfo.gov. At this site you can
                                            denied equal treatment); Dodds v. U.S.                  requirements and standards as just                      view this document, as well as all other
                                            Dep’t of Educ., 845 F.3d 217, 221–22                    described, OCR will open an                             documents of this Department
                                            (6th Cir. 2016) (describing ‘‘substantial               investigation of allegations that an                    published in the Federal Register, in
                                            and immediate adverse effects on the                    individual has been discriminated                       text or Portable Document Format
                                            daily life and well-being of an eleven-                 against because of their sexual                         (PDF). To use PDF you must have
                                            year-old’’ transgender girl from denial of              orientation or gender identity in                       Adobe Acrobat Reader, which is
                                            equal treatment); Doe, 2020 WL                          education programs or activities. This                  available free at the site.
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                                            5993766, at **1–3 (describing                           includes allegations of individuals being                  You may also access documents of the
                                            harassment and physical targeting of a                                                                          Department published in the Federal
                                                                                                      2 Educational institutions that are controlled by a
                                            gay college student that interfered with                                                                        Register by using the article search
                                                                                                    religious organization are exempt from Title IX to
                                            the student’s educational opportunity);                 the extent that compliance would not be consistent
                                                                                                                                                            feature at www.federalregister.gov.
                                            Harrington ex rel. Harrington v. City of                with the organization’s religious tenets. See 20        Specifically, through the advanced
                                            Attleboro, No. 15–CV–12769–DJC, 2018                    U.S.C. 1681(a)(3).                                      search feature at this site, you can limit


                                       VerDate Sep<11>2014   18:13 Jun 21, 2021   Jkt 253001   PO 00000   Frm 00007   Fmt 4700   Sfmt 4700   E:\FR\FM\22JNR1.SGM   22JNR1
                                                               Case 6:21-cv-00474-AA                         Document 59-14                   Filed 08/11/21            Page 4 of 4
                                            32640              Federal Register / Vol. 86, No. 117 / Tuesday, June 22, 2021 / Rules and Regulations

                                            your search to documents published by                   ■ a. Revising the definitions of                       in Small-Claims Enforcement (‘‘CASE’’)
                                            the Department.                                         ‘‘Conviction or convicted’’ and                        Act of 2020.1 The Register has
                                                                                                    ‘‘Practitioner;’’                                      determined that these changes will
                                            Suzanne B. Goldberg,
                                                                                                    ■ b. Removing the entry for ‘‘Roster’’                 optimize business processes and aid in
                                            Acting Assistant Secretary for Civil Rights.            and adding, in alphabetical order, an                  the administration of her functions and
                                            [FR Doc. 2021–13058 Filed 6–21–21; 8:45 am]             entry for ‘‘Roster or register;’’ and                  duties as Director of the Copyright
                                            BILLING CODE 4000–01–P                                  ■ c. Revising the definitions for                      Office.2
                                                                                                    ‘‘Serious crime’’ and ‘‘State.’’                          Operational reorganization. The
                                                                                                       The revisions and addition read as                  reorganization reduces the number of
                                                                                                    follows:                                               direct reports to the Register of
                                            DEPARTMENT OF COMMERCE                                                                                         Copyrights and is expected to create
                                                                                                    Andrew Hirshfeld,
                                            Patent and Trademark Office                                                                                    administrative and cost efficiencies by
                                                                                                    Commissioner for Patents, Performing the               consolidating operational organizations
                                                                                                    Functions and Duties of the Under Secretary
                                            37 CFR Part 11                                          of Commerce for Intellectual Property and
                                                                                                                                                           currently headed by senior-level
                                                                                                    Director of the United States Patent and               positions. The reorganization brings the
                                            [Docket No.: PTO–C–2013–0042]                           Trademark Office.                                      Office of the Chief Financial Officer
                                                                                                    [FR Doc. 2021–13145 Filed 6–21–21; 8:45 am]
                                                                                                                                                           (renamed the Financial Management
                                            RIN 0651–AC91                                                                                                  Division) and the Copyright
                                                                                                    BILLING CODE 3510–16–P
                                                                                                                                                           Modernization Office (renamed the
                                            Changes to Representation of Others                                                                            Product Management Division) under
                                            Before the United States Patent and                                                                            the supervision of the Chief of
                                                                                                    LIBRARY OF CONGRESS                                    Operations (renamed the Assistant
                                            Trademark Office; Correction
                                                                                                    Copyright Office                                       Register and Director of Operations
                                            AGENCY: United States Patent and                                                                               (‘‘ARDO’’)). Realigning these divisions
                                            Trademark Office, Commerce.                                                                                    under the ARDO consolidates
                                                                                                    37 CFR Parts 201, 202, 203, 210, and
                                            ACTION: Final rule; correction.                                                                                operational support elements under one
                                                                                                    370
                                                                                                                                                           senior manager, in line with operational
                                            SUMMARY: The United States Patent and                   [Docket No. 2021–3]                                    structures across the Library of
                                            Trademark Office (USPTO or Office) is                                                                          Congress. This consolidation is
                                            correcting an earlier final rule, ‘‘Changes             Technical Amendments Regarding the                     expected to facilitate Office
                                            to the Representation of Others Before                  Copyright Office’s Organizational                      coordination with centralized Library
                                            the United States Patent and Trademark                  Structure                                              services, and with similar functional
                                            Office,’’ that appeared in the Federal                                                                         elements of other service units. It is also
                                                                                                    AGENCY: U.S. Copyright Office, Library
                                            Register on May 26, 2021 and which                                                                             expected to allow the Office to increase
                                                                                                    of Congress.
                                            takes effect on June 25, 2021. This                                                                            the effectiveness of communications
                                            document corrects a minor error. No                     ACTION: Final rule.
                                                                                                                                                           across areas of operational
                                            other changes are being made to the                     SUMMARY: This final rule makes                         responsibility, in alignment with
                                            underlying final rule.                                  technical changes to the U.S. Copyright                strategic objectives.
                                            DATES: This rule is effective June 25,                  Office’s regulations pertaining to its                    The reorganization renames certain
                                            2021.                                                   organizational structure in light of the               organizational elements and senior
                                            FOR FURTHER INFORMATION CONTACT:                        agency’s recent reorganization. It                     positions for purposes of greater clarity
                                            William R. Covey, Deputy General                        reflects recent structural changes,                    and consistency. The Office of Public
                                            Counsel for Enrollment and Discipline                   updates certain of the Office’s division               Records and Repositories is renamed the
                                            and Director of the Office of Enrollment                names, and adds a new section for the                  Office of Copyright Records. As noted
                                            and Discipline, at 571–272–4097.                        Copyright Claims Board established by                  above, the Office of the Chief of
                                                                                                    the Copyright Alternative in Small-                    Operations is renamed the Office of the
                                            SUPPLEMENTARY INFORMATION: This
                                                                                                    Claims Enforcement Act of 2020.                        Director of Operations. The following
                                            document corrects an error pertaining to                                                                       subordinate offices are also renamed:
                                            revisions to definitions made in the                    DATES: Effective July 22, 2021.
                                                                                                    FOR FURTHER INFORMATION CONTACT:
                                                                                                                                                           The Copyright Acquisitions Division
                                            final rule. Specifically, the Office                                                                           (‘‘CAD’’) is renamed Acquisitions and
                                            intended to change the listed definition                Regan A. Smith, General Counsel and
                                                                                                    Associate Register of Copyrights, by                   Deposits (‘‘A&D’’); the Administrative
                                            of ‘‘Roster’’ to ‘‘Roster or register.’’ The                                                                   Services Office (‘‘ASO’’) is renamed the
                                            Code of Federal Regulations editors                     email at regans@copyright.gov, Kevin R.
                                                                                                    Amer, Deputy General Counsel, by                       Administrative Services Division
                                            informed the Office that the original                                                                          (‘‘ASD’’); and the Receipt Analysis and
                                            Federal Register instruction to ‘‘revise’’              email at kamer@copyright.gov, or Joanna
                                                                                                    R. Blatchly, Attorney-Advisor, by email                Control Division (‘‘RAC’’) is renamed
                                            the definition was incorrect. Rather, the                                                                      the Materials Control and Analysis
                                            correct instruction should be to ‘‘remove               at jblatchly@copyright.gov or by
                                                                                                    telephone at (202) 707–8350.                           Division (‘‘MCA’’). The Copyright
                                            and add’’ the intended definition. This                                                                        Modernization Office (‘‘CMO’’) is
                                            document corrects that instruction.                     SUPPLEMENTARY INFORMATION: The
                                                                                                                                                           renamed the Product Management
                                               In FR Doc. 2021–10528, appearing on                  Copyright Office is publishing this final              Division (‘‘PMD’’).
                                            page 28442 in the Federal Register of                   rule pursuant to its May 2021                             Further, the Office of the Chief
                                            Wednesday, May 26, 2021, the                            reorganization. This effort is intended to             Financial Officer (‘‘CFO’’) is renamed
                                            following correction is made:                           accomplish two goals: (1) Rename                       the Financial Management Division
lotter on DSK11XQN23PROD with RULES1




                                                                                                    divisions and realign certain reporting                (‘‘FMD’’) and work units under this
                                            § 11.1   [Corrected]                                    structures to improve the Office’s                     division are also renamed, including by
                                            ■ On page 28452, in the first column, in                effectiveness and efficiency; and (2)
                                            part 11, correct amendatory instruction                 reflect the agency structure for the new                 1 Public Law 116–260, sec. 212, 134 Stat. 1182,
                                            4 to read as follows:                                   copyright small-claims tribunal                        2176 (2020).
                                            ■ 4. Amend § 11.1 by:                                   established by the Copyright Alternative                 2 See 17 U.S.C. 701(a).




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